Case 1:24-cr-00322-MKB Document 1-1 Filed 08/06/24 Page 1 of 1 PageID #: 3
                                                                                       FILED
                                                                                IN CLERK’S OFFICE
                                                                                US DISTRICT COURT
                                                                                      E.D.N.Y.
                                      INFORMATION SHEET                          * AUGUST 6, 2024 *
                                UNITED STATES DISTRICT COURT
                                                                                BROOKLYN OFFICE
                                EASTERN DISTRICT OF NEW YORK


1.      Title of Case: United States v. Kevindale Nurse            24-CR-322 (MKB)(TAM)
2.      Related Magistrate Docket Number(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

3.      Arrest Date:   N/A

4.      Nature of offense(s):     IZl Felony
                                  □    Misdemeanor

5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
        Division of Business Rules): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

6.      Projected Length of Trial:     Less than 6 weeks     181
                                       More than 6 weeks     □

7.      County in which crime was allegedly committed: Brooklyn
        (Pursuantto Rule 50.l(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March I 0, 2012. 1       □ Yes 181 No

9.      Has this indictment/information been ordered sealed?         18:1 Yes D No

10.     Have arrest warrants been ordered?                           18:1 Yes   □ No


11.     Is there a capital count included in the indictment? D Yes 181 No


                                                     BREON PEACE
                                                     UNITED STATES ATTORNEY

                                               By:   Megan Larkin
                                                     Megan Larkin
                                                     Assistant U.S. Attorney
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        Judge Brodie will not accept cases that were initiated before March I 0, 2012.



Rev. 10/04/12
